
96 N.Y.2d 930 (2001)
CZESLAW TOMCZAK et al., on Behalf of the Polish Democratic Club of Greater New York, Inc., Appellants,
v.
MINDY J. TREPEL, as Administrator of the Estate of EDWARD W. MALLEN, Deceased, et al., Respondents.
Court of Appeals of the State of New York.
Submitted July 2, 2001.
Decided September 13, 2001.
Motion, insofar as it seeks leave to appeal from that portion of the Appellate Division order that affirmed that portion of Supreme Court's order that denied appellants' motion to amend the complaint, dismissed upon the ground that such portion of the Appellate Division order does not finally determine the action within the meaning of the Constitution; motion for leave to appeal otherwise denied.
